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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-0028V
                                     Filed: March 12, 2018
                                         UNPUBLISHED


    ELLEN SNYDER,
                                                             Special Processing Unit (SPU); Joint
                        Petitioner,                          Stipulation on Damages; Influenza
    v.                                                       (Flu) Vaccine; Guillain-Barre
                                                             Syndrome (GBS)
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                       Respondent.


Lawrence R. Cohan, Anapol Weiss, Philadelphia, PA, for petitioner.
Darryl R. Wishard, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

Dorsey, Chief Special Master:

       On January 9, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq., 2 (the
“Vaccine Act”). Petitioner alleges that she suffered Guillain-Barre Syndrome as a result
of an influenza vaccine received on September 24, 2015. Petition at 1-4; Stipulation,
filed March 12, 2018, at ¶ 4. Petitioner further alleges that the vaccine was
administered in the United States, she suffered the effects of the injury for more than six
months, and there has been no prior award or settlement of a civil action for damages
as a result of her condition. Petition at ¶¶ 3, 22-24; Stipulation at ¶¶ 3-5. “Respondent
denies that the flu vaccine caused petitioner to suffer from GBS or any other injury. ”
Stipulation at ¶ 6.

       Nevertheless, on March 12, 2018, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned

1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

     Pursuant to the terms stated in the attached Stipulation, the undersigned
awards the following compensation:

            1. A lump sum of $243,254.15, which amount represents compensation
               for first year life care expenses ($36,882.35), lost earnings
               ($31,371.80), and pain and suffering ($175,000.00), in the form of a
               check payable to petitioner; and

            2. An amount sufficient to purchase the annuity contract described in
               ¶ 10 of the Stipulation, paid to the life insurance company from
               which the annuity will be purchased.

                Stipulation at ¶ 8. These amounts represent compensation for all items of
                damages that would be available under 42 U.S.C. § 300aa-15(a).

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

                                                      2
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